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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                    EASTERN DIVISION

 Thomas F. Worthy, etc., et al.,                  Case No. 3:17 CV 73

                              Plaintiffs,         JUDGMENT ENTRY

                -vs-                              JUDGE JACK ZOUHARY

 The City of Phenix City, Alabama, et al.,

                              Defendants.


       This Court filed a Memorandum Opinion and Order (Doc. 22) granting Defendants’ Motion

to Dismiss (Doc. 8–9). No other claims remaining, this Court enters final judgment for Defendants.

This case is dismissed.

       The in-person conference set for Friday, October 27, 2017 at the Montgomery Courthouse is

vacated.

       IT IS SO ORDERED.

                                                       s/ Jack Zouhary
                                                   JACK ZOUHARY
                                                   U. S. DISTRICT JUDGE

                                                   October 24, 2017
